                           UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE TENNESSEE DIVISION

In re:                                                      Case No. 18-07211-RM3-13
         JACOB KEITH HALL
         CHASITY LAYNE HALL
                 Debtor(s)


                      Chapter 13 Trustee's Final Report and Account
       Henry E. Hildebrand, III, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:


         1) The case was filed on 10/26/2018.

         2) The plan was confirmed on 12/07/2018.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 10/24/2019.

         6) Number of months from filing to last payment: 11.

         7) Number of months case was pending: 14.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $4,786.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor                    $5,115.00
       Less amount refunded to debtor                               $470.19

NET RECEIPTS:                                                                                          $4,644.81


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                     $1,749.86
    Court Costs                                                                 $310.00
    Trustee Expenses & Compensation                                             $162.51
    Other                                                                         $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                      $2,222.37

Attorney fees paid and disclosed by debtor:                         $0.00


Scheduled Creditors:
Creditor                                           Claim         Claim            Claim        Principal       Int.
Name                                 Class       Scheduled      Asserted         Allowed         Paid          Paid
1305 CLAIM                       Unsecured                NA            NA              NA             0.00        0.00
AIS PORTFOLIO SERVICES LP        Unsecured                NA            NA              NA             0.00        0.00
AMERICAN INFOSOURCE LP           Unsecured          1,033.00       1,033.29        1,033.29            0.00        0.00
BILLY STREET                     Secured                  NA            NA              NA             0.00        0.00
COVINGTON CREDIT                 Unsecured             836.00        869.12          869.12            0.00        0.00
CREDIT CENTRAL                   Unsecured             873.00        776.00          776.00            0.00        0.00
FINGERHUT                        Unsecured          2,502.00            NA              NA             0.00        0.00
JEFFERSON CAPITAL SYSTEMS LLC    Unsecured          2,607.00       2,607.09        2,607.09            0.00        0.00
LUTHER LAKE EMERGENCY PHYSIC     Unsecured          1,140.00            NA              NA             0.00        0.00
MIDLAND CREDIT MANAGEMENT        Unsecured             356.00        356.06          356.06            0.00        0.00
ONEMAIN                          Secured           11,016.00     11,136.48         6,100.00       1,720.14      235.35
ONEMAIN                          Unsecured                NA           0.00        5,036.48            0.00        0.00
PENDRICK CAPITAL PARTNERS        Unsecured                NA         223.36          223.36            0.00        0.00
PREMIERE CREDIT OF NORTH AMER    Unsecured                NA          26.93           26.93            0.00        0.00
PREMIERE CREDIT OF NORTH AMER    Unsecured             154.97        953.90          953.90            0.00        0.00
PROGRESSIVE                      Unsecured             104.00           NA              NA             0.00        0.00
QUANTUM3 GROUP LLC               Unsecured             468.00        468.37          468.37            0.00        0.00
SOUTHEASTERN EMERGENCY PHYS      Unsecured          1,756.00            NA              NA             0.00        0.00
STATE FINANCE OF DICKSON         Unsecured             425.00        521.06          521.06            0.00        0.00
UNITED STATES TREASURY           Unsecured                NA            NA              NA             0.00        0.00
US ATTORNEY FOR MIDDLE DISTRIC   Unsecured                NA            NA              NA             0.00        0.00
VERIZON WIRELESS                 Secured                  NA            NA              NA             0.00        0.00
WESTERN SHAMROCK CORP            Unsecured          1,080.00            NA              NA             0.00        0.00
WESTERN SHAMROCK CORPORATIO      Secured            1,827.00       1,574.16        1,574.16         405.51       61.44
WESTERN SHAMROCK CORPORATIO      Unsecured          1,435.00       1,342.67        1,342.67            0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00             $0.00
       Mortgage Arrearage                                      $0.00              $0.00             $0.00
       Debt Secured by Vehicle                             $6,100.00          $1,720.14           $235.35
       All Other Secured                                   $1,574.16            $405.51            $61.44
 TOTAL SECURED:                                            $7,674.16          $2,125.65           $296.79

 Priority Unsecured Payments:
        Domestic Support Arrearage                              $0.00             $0.00              $0.00
        Domestic Support Ongoing                                $0.00             $0.00              $0.00
        All Other Priority                                      $0.00             $0.00              $0.00
 TOTAL PRIORITY:                                                $0.00             $0.00              $0.00

 GENERAL UNSECURED PAYMENTS:                              $14,214.33              $0.00              $0.00


Disbursements:

         Expenses of Administration                              $2,222.37
         Disbursements to Creditors                              $2,422.44

TOTAL DISBURSEMENTS :                                                                         $4,644.81


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 01/07/2020                             By:/s/ Henry E. Hildebrand, III
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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